             Case 19-13686                   Doc         Filed 06/04/20                 Entered 06/04/20 12:53:42                           Desc Main
                                                             Document                   Page 1 of 6

Fill in this information to identify the case:

Debtor 1
                           Frederick Burton

Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the:            Northern           District of      Illinois
                                                                                     (State)

Case number              19-13686



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                                   12/15
If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
     Name of creditor:           DEUTSCHE BANK NATIONAL TRUST COMPANY, as                                  Court claim no. (if known):           10
                                 Trustee for HOME EQUITY MORTGAGE LOAN
                                 ASSET-BACKED TRUST Series INABS 2007-A, HOME
                                 EQUITY MORTGAGE LOAN ASSET-BACKED
                                 CERTIFICATES Series INABS 2007-A

     Last 4 digits of any number you use to                                                                Date of payment change:
     Identify the debtor’s account:                      8410                                              Must be at least 21 days after             08/01/2020
                                                                                                           date
                                                                                                           of this notice


                                                                                                           New total payment                          $2,698.12
                                                                                                           Principal, interest, and escrow, if
                                                                                                           any



Part 1:               Escrow Account Payment Adjustment
1. Will there be a change in the debtor’s escrow account payment?
       No
       Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
            the basis for the change. If a statement is not attached, explain why:


               Current escrow payment:          $1,278.17                                      New escrow payment:        $1,267.41


Part 2:               Mortgage Payment Adjustment
2. Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor’s
variable-rate account?
       No
       Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable non-bankruptcy law. If a notice is not
            attached, explain why:


               Current interest rate                                      %                    New interest rate:                                     %

               Current principal and interest payment:          $                              New principal and interest payment:          $


Part 3:               Other Payment Change
3. Will there be a change in the debtor’s mortgage payment for a reason not listed above?

       No
       Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
               (Court approval may be required before the payment change can take effect.)

               Reason for change:

               Current mortgage payment:           $                                           New mortgage payment:         $
Official Form 410S1                                                 Notice of Mortgage Payment Change                                                              page 1
            Case 19-13686                 Doc       Filed 06/04/20                 Entered 06/04/20 12:53:42 Desc Main
Debtor 1            Frederick Burton
                                                        Document                   Page 2 of 6
                                                                                             Case number (if known) 19-13686
                    First Name       Middle Name          Last Name



Part 4:         Sign Here
The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.
Check the appropriate box.

         I am the creditor.

         I am the creditor’s authorized agent.


I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.



x       /s/ Brenda Likavec                                                                         Date    6/4/2020
    Signature



Print                  Brenda Likavec                                                              Title   Attorney for Creditor
                       First Name           Middle Name               Last Name



Company                Codilis & Associates, P.C.


Address                15W030 North Frontage Road, Suite 100
                       Number          Street

                       Burr Ridge                    IL                    60527
                       City                                State           ZIP Code



Contact phone          (630) 794-5300                                                              Email   ND-One@il.cslegal.com

                                                                                                                                   File #14-17-15571




The ‘current escrow payment’ in the attached Escrow Statement will not match the previously filed NOPC or POC as
this escrow payment is based off the contractual due date. The current escrow payment included in this Notice of
Payment Change is based off the previously filed court record. This will not have any impact on the borrower.




Official Form 410S1                                                Notice of Mortgage Payment Change                                 page 2
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                                          Document     Page 3 of 6

                                           CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that I have served a copy of this Notice
upon the parties listed below, as to the Trustee and Debtor's attorney via electronic notice on
June 4, 2020 and as to the debtor by causing same to be mailed in a properly addressed
envelope, postage prepaid, from 7140 Monroe Street, Willowbrook, IL 60527 before the hour of
5:00 PM on June 4, 2020.

Marilyn O Marshall, Chapter 13 Trustee, 224 South Michigan Ste 800, Chicago, IL 60604 by
electronic notice through ECF
Frederick Burton , Debtor(s), 823 S. Lombard Ave., Oak Park, IL 60304
David M Siegel, Attorney for Debtor(s), 790 Chaddick Drive, Wheeling, IL 60090 by electronic
notice through ECF
Office of U.S. Trustee, 219 S. Dearborn St., Room 873, Chicago, IL 60604 by electronic notice
through ECF




                                                         /s/ Brenda Likavec


Berton J. Maley ARDC#6209399
Rachael A. Stokas ARDC#6276349
Peter C. Bastianen ARDC#6244346
Joel P. Fonferko ARDC#6276490
Brenda Ann Likavec ARDC#6330036
Karl V. Meyer ARDC#6220397
Grant W. Simmons ARDC#6330446
Codilis & Associates, P.C.
15W030 North Frontage Road, Suite 100
Burr Ridge, IL 60527
(630) 794-5300
File #14-17-15571

NOTE: This law firm is a debt collector.
                                                                                                    PERSONAL INFORMATION REDACTED
                  Case 19-13686              Doc        Filed 06/04/20
                                                               PHH Mortgage Entered
                                                                              Services   06/04/20 12:53:42                  Desc Main
                                                               P.O. Box 5452
                                                            Document           Page 4 of 6
                                                               Mt. Laurel, NJ 08054-5452


Your annual escrow statement                                                                         Loan number:
May 18, 2020
                                                                                                     Questions?
                                                                                                     Visit us at
                                                                                                     www.MortgageQuestions.com
                                                                                                     Call toll free 1-877-744-2506
         FREDERICK BURTON                                                                            Fax 1-856-917-8300
         REBECCA MCCULLOCH-BURTON
         823 S LOMBARD AVE
         OAK PARK, IL 60304-1609




Why am I getting this statement?
In accordance with federal guidelines your escrow account is reviewed at least one time per year; however, certain circumstances
may require an additional review. This statement is a result of that review known as an escrow analysis statement, which determines
if sufficient funds are available to pay your taxes and/or insurance. This statement is a projection of your escrow account and may
also include a history of the escrow activity on your loan since the time you last received an escrow analysis statement. The
enclosed update follows notice of the account's involvement in a bankruptcy petition, filed on May 13, 2019 under chapter 13 of the
Bankruptcy Code. This statement should be reviewed carefully. The mortgage payment may be affected. Please contact us at the
number above if this account is not part of a Chapter 13 proceeding or plan. If this account has filed for any other Bankruptcy
protection or received an Order of Discharge in a Chapter 7 bankruptcy case, or received any other discharge under the U.S.
Bankruptcy Code that applied to the referenced property, please be advised that this Notice is for information purposes only and
not intended as an attempt to collect a debt against you personally.

What does this mean to me?
Because your escrow account is projected to have more money than is needed, there is a surplus of $205.53; however, this
surplus is being retained due to the status of your mortgage. Once your loan returns to a current status, please contact our
Customer Service Department at the above referenced number to determine if the surplus is still valid.

What is a surplus?
A surplus is the difference between the anticipated escrow balance, which is greater than the required escrow balance at the
beginning of the analysis cycle. A surplus typically results from changes in taxes and/or insurance. Please refer to the enclosed FAQ
for additional information.
Anticipated escrow account balance (as of July 31, 2020):                            -$ 9,423.93
Escrow adjusted per Proof of Claim*                                                  $12,361.26
Required escrow account balance (as of July 31, 2020 ):                                $2,731.80
Difference resulting in an escrow account surplus:                                       $205.53
*This amount reflects the adjustment made for the Bankruptcy Proof of Claim:
a




                                                                                                                                              See reverse è
This communication is from a debt collector attempting to collect a debt; any information obtained will be used for that purpose. However, if the debt is in
active bankruptcy or has been discharged through bankruptcy, this communication is provided purely for informational purposes only with regard to our
secured lien on the above referenced property. It is not intended as an attempt to collect a debt from you personally. As may be required by state law, you
are hereby notified that a negative credit report reflecting on an accountholder's credit record may be submitted to a credit reporting agency if credit
obligation terms are not fulfilled.
                                                                                                                                               Page 1 of 3

                                                                                         Borrower Name: FREDERICK BURTON
                                                                                         Loan Number:




                                                       This space is intentionally left blank.
             Case
 What is my new   19-13686
                monthly        Doc
                        payment?         Filed 06/04/20 Entered 06/04/20 12:53:42                                                Desc Main
                                             Document    Page 5 of 6
 Effective August 2020, your new monthly mortgage payment will be: $2,698.12
                                             Current Payment                               New Payment
 Principal & Interest                             $1,107.58                                   $1,430.71
 Escrow Deposit                                   $1,284.83                                   $1,267.41
 Total Payment                                    $2,392.41                                   $2,698.12

 If your payment is issued by a third party, or if you make payments through a bill pay service, then please make sure your
 new total monthly payment amount is updated with your service provider.

 Payment Change Breakdown
 Below are the escrow items we anticipate collecting for and paying on your behalf over the next 12 months. To calculate your new
 monthly escrow payment of $1,267.41, we added up the actual or estimated tax and insurance payments for the next 12 months
 beginning with the August 2020 payment and divided the total by 12. Included for the comparison are the Annual Payments we
 projected to pay during the last analysis cycle, as displayed in detail in the history portion of the escrow analysis statement.

 Description                              Current Annual Payment                  Projected Annual Payment
 Taxes                                              $13,697.95                                $13,461.73
 Insurance                                           $1,640.20                                 $1,747.20

 TOTAL                                                $15,338.15                                      $15,208.93


 Prior Year Account History and Coming Year Projections
 This statement itemizes your actual escrow account transactions since your previous analysis statement or initial disclosure and
 projects payments, disbursements and balances for the coming year. The projections from your previous escrow analysis are included with
 the actual payments and disbursements for the prior year. By comparing the actual escrow payment with the previous projections listed, you can
 determine where a difference may have occurred. When applicable, the letter "E" beside an amount indicates that all or a portion of a payment or
 disbursement on that row has not yet occurred but is estimated to occur as shown. An asterisk (*) beside an amount indicates a difference from
 projected activity either in the amount or date.

 Projections are included to ensure sufficient funds are available to pay your taxes and/or insurance for the coming year. Under Federal Law
 (RESPA) the lowest monthly balance in your escrow account should be no less than $2,534.82 or 1/6th of the total annual projected disbursement
 from your escrow account, unless your mortgage documents or state law specifies otherwise.

 Your projected anticipated lowest account balance of $9,620.91- will be reached in February 2021. When subtracted from your minimum required
 balance of $2,534.82, an Escrow Surplus results in the amount of $205.53. These amounts are indicated with LP. You will receive an Annual
 Escrow Account Disclosure Statement reflecting the actual disbursements at the end of the next escrow analysis cycle. However, you should keep
 this statement for your own records for comparison. If you have any questions about this statement, please call our Customer Service Department
 toll free at 1-877-744-2506.



           Escrow account projections for the coming year
                                                      Anticipated amounts             Anticipated amounts
                                                             paid into your                paid out of your        Anticipated escrow           Required escrow
 Date                   Description                    escrow account ($)              escrow account ($)          account balance ($)        account balance ($)
                        Opening balance                                                                                  - 9,423.93                2,731.80
 Aug 2020                                                           1,267.41                                              -8,156.52                3,999.21
 Sep 2020                                                           1,267.41                                              -6,889.11                5,266.62
                                                                                                                                         Continued on next page




                                                                                                                                                Page 2 of 3


Change of name or address
If your contact information has changed, please give us the new
information below.

Name (first, middle, last)


Address (number and street)                                                    Suite no.


City                                                  State                    Zip code


Home telephone                                 Business telephone              Extension
(          )                                   (        )
E-mail address
                Case 19-13686    Doc      Filed 06/04/20
                                                 PHH Mortgage Entered
                                                                Services   06/04/20 12:53:42                          Desc Main
                                                 P.O. Box 5452
                                              Document           Page 6 of 6
                                                 Mt. Laurel, NJ 08054-5452


Your annual escrow statement (continued)                                                      Loan number:
May 18, 2020                                                                                  Questions?
                                                                                              Visit us at
           FREDERICK BURTON
                                                                                              www.MortgageQuestions.com
           REBECCA MCCULLOCH-BURTON
           823 S LOMBARD AVE                                                                  Call toll free 1-877-744-2506
           OAK PARK, IL 60304-1609                                                            Fax 1-856-917-8300




        Escrow account projections for the coming year (continued)
                                       Anticipated amounts           Anticipated amounts
                                              paid into your              paid out of your            Anticipated escrow                      Required escrow
Date            Description             escrow account ($)            escrow account ($)              account balance ($)                   account balance ($)
Oct 2020                                         1,267.41                                                     -5,621.70                          6,534.03
Nov 2020                                         1,267.41                                                     -4,354.29                          7,801.44
Dec 2020                                         1,267.41                                                     -3,086.88                          9,068.85
Jan 2021        HAZARD INS.                      1,267.41                        1,747.20                     -3,566.67                          8,589.06
Feb 2021        COUNTY TAX                       1,267.41                        7,314.65                     -9,613.91                          2,541.82
Feb 2021        DUP BILL FEE                                                         7.00                     -9,620.91                          2,534.82 LP
Mar 2021                                         1,267.41                                                     -8,353.50                          3,802.23
Apr 2021                                         1,267.41                                                     -7,086.09                          5,069.64
May 2021                                         1,267.41                                                     -5,818.68                          6,337.05
Jun 2021                                         1,267.41                                                     -4,551.27                          7,604.46
Jul 2021        COUNTY TAX                       1,267.41                        6,133.08                     -9,416.94                          2,738.79
Jul 2021        TAXES                                                                7.00                     -9,423.94                          2,731.79
Total                                         $15,208.92                       $15,208.93

                                          LP - indicates your required escrow lowest balance


        Prior year account History
                                                        Amounts paid into                      Amounts paid out of                             Escrow account
                                                      your escrow account                     your escrow account                                     balance
Date           Description               Anticipated ($)          Actual ($)     Anticipated ($)         Actual ($)       Anticipated ($)            Actual ($)
               Opening balance                                                                                                6,390.96            -18,481.32
Jun 2019                                     1,278.17                      *                                                  7,669.13            -18,481.32
Jul 2019       COUNTY TAX                    1,278.17                      *                           6,133.08*              8,947.30            -24,614.40
Jul 2019       TAXES                                                                                        6.00*             8,947.30            -24,620.40
Aug 2019       COUNTY TAX                    1,278.17           2,556.34 *           6,531.66                     *           3,693.81            -22,064.06
Sep 2019                                     1,278.17                      *                                                  4,971.98            -22,064.06
Oct 2019                                     1,278.17                      *                                                  6,250.15            -22,064.06
Nov 2019                                     1,278.17           1,278.17                                                      7,528.32            -20,785.89
Dec 2019                                     1,278.17                      *                                                  8,806.49            -20,785.89
Jan 2020       HAZARD INS.                   1,278.17           2,259.02 *           1,640.20          1,747.20*              8,444.46            -20,274.07
Feb 2020       COUNTY TAX                    1,278.17                      *         7,166.29          7,314.65*              2,556.34            -27,588.72
Feb 2020       DUP BILL FEE                                                                                 7.00*             2,556.34            -27,595.72
Mar 2020                                     1,278.17                      *                                                  3,834.51            -27,595.72
Apr 2020                                     1,278.17           1,278.17                                                      5,112.68            -26,317.55
May 2020                                     1,278.17          20,477.36 E                                        E           6,390.85             -5,840.19
Jun 2020                                                        1,278.17 E                                        E           6,390.85             -4,562.02
Jul 2020       COUNTY TAX                                       1,278.17 E                             6,133.08E              6,390.85             -9,416.93
Jul 2020       TAXES                                                       E                                7.00E             6,390.85             -9,423.93
Total                                       15,338.04          30,405.40            15,338.15         21,348.01




                                                                                                                                              Page 3 of 3
